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           EXHIBIT 2
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From:                Mattioli, Madison (USAMT) <Madison.Mattioli@usdoj.gov>
Sent:                Thursday, December 28, 2023 2:06 PM
To:                  Susan Beaty; Tatarka, Tim (USAMT); Cziok, Abbie (USAMT); Smith, Mark (USAMT)
Cc:                  Amaris Montes; zzz.External.oren@rightsbehindbars.org; Kara Janssen; Luma Khabbaz; Adrienne
                     Spiegel; Ernest Galvan; Anderson, Carson; Cha-Kim, Stephen
Subject:             RE: [EXTERNAL] Re: Retaliation and attorney access at FCI Dublin



 External E‐mail

Hi, Susan –

Our Montana team has conducted all witness meetings via telephone. Thus, we don’t understand why Dublin’s
confidential telephone lines, in addition to in‐person legal and social visits, do not provide sufficient access. We never
suggested to the Court our office could expand FCI Dublin’s visitation schedule – that schedule is subject to factors
beyond our control (e.g. BOP staffing, scheduling, room availability, etc.). As we advised December 20, the facility has
been and will continue accommodating your requests for visitation in accordance with policy and the safety
requirements of the facility. Again, we are happy to facilitate the addition of attorney numbers to the pilot phone line if
you simply identify the inmates represented by each attorney to be added (as we have been requesting since December
18).

We looked into the claims in your December 23 email. Your allegations of retaliation and intimidation are based on
incorrect assumptions. We acknowledge the attorney pods have been offline due to a safety issue, but other spaces
remain available for confidential attorney‐client meetings. There has been no retaliation or intimidation, and there are
no barriers to adequate access.

Thanks,
Madison

From: Susan Beaty <susan@ccijustice.org>
Sent: Thursday, December 28, 2023 6:00 AM
To: Mattioli, Madison (USAMT) <MMattioli@usa.doj.gov>; Tatarka, Tim (USAMT) <TTatarka@usa.doj.gov>; Cziok, Abbie
(USAMT) <ACziok@usa.doj.gov>; Smith, Mark (USAMT) <MSmith4@usa.doj.gov>
Cc: Amaris Montes <amaris@rightsbehindbars.org>; Oren Nimni <oren@rightsbehindbars.org>; Kara Janssen
<KJanssen@rbgg.com>; Luma Khabbaz <lkhabbaz@rbgg.com>; Adrienne Spiegel <aspiegel@rbgg.com>; Ernest Galvan
<egalvan@rbgg.com>; Anderson, Carson <Carson.Anderson@arnoldporter.com>; Cha‐Kim, Stephen <Stephen.Cha‐
Kim@arnoldporter.com>
Subject: [EXTERNAL] Re: Retaliation and attorney access at FCI Dublin


Counsel,



I write in response to the Executive Assistant’s communication that FCI Dublin proposes to accommodate legal visitation
in the days leading up to the evidentiary hearing only on January 2 between 9:00 a.m. and 1:00 p.m., and that our team
may otherwise participate in social visitation hours on Dec. 30, Dec. 31, and Jan. 1, during which “the facility cannot
guarantee privacy/confidentiality.” Limiting access to our clients and potential witnesses in such a manner, ahead of a
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multiday hearing involving dozens of witnesses, is patently unreasonable, and it is counter to the Court’s understanding
that the Government would work with us to facilitate sufficient access to ensure adequate preparation for a meaningful
hearing.



Moreover, we have not received any substantive response from the Government with regard to our December 23 email
outlining (1) reports of retaliation against individuals who recently met with us, including one individual who had her cell
searched and legal papers confiscated following our meeting; (2) the inexplicable start, after we began meeting with
inmates in preparation of the evidentiary hearing, of strip searches of those who meet with us, which has had the effect
of deterring individuals from attending legal meetings; and (3) continuing barriers to adequate access, including the lack
of functional private meeting spaces (contrary to the Government’s representations to the Court in its opposition to the
PI motion that such spaces were operational). (We appreciate the outreach from the facility that led to the halt to two
transfers identified in my email, but we still await an explanation as to the timing of and reasons for the sudden
transfers following legal meetings, and assurances that unexplained and retaliatory transfers of individuals involved in
this litigation will not occur in the future.)



Consistent with our prior requests which the Executive Assistant rejected without explanation, we ask that the
Government provide us with access to the facility for legal visitation (1) for at least 4 hours on December 31 and January
1, during a period that does not coincide with social visitation hours; and (2) for the period of 9:00 a.m. to 5:00 p.m. on
January 2. We also ask that the Government provide assurances that any individual who wishes to participate in these
meetings will be able to do so without reprisal and in a private and confidential manner.



Please let us know if the Government will provide the foregoing by 5pm MT today, failing which we will seek emergency
relief from the Court.




On Sat, Dec 23, 2023 at 12:39 PM Susan Beaty <susan@ccijustice.org> wrote:
 Counsel,

 We understand that everyone has a lot on their plate at the moment, but, we are writing to once again raise time‐
 sensitive concerns about staff retaliation and attorney access at FCI Dublin.

 At our meet and confer and at the last CMC, we discussed our shared commitment to protecting incarcerated
 witnesses from retaliation by BOP staff. Unfortunately, we have received multiple reports of retaliation against
 individuals who met with us in the past week. Examples include:
        ‐ The morning after our legal visit on Tuesday, December 19, staff searched the cell of a person we met with.
        They spent over an hour in her cell, and did not give her any write ups or a receipt for confiscated property.
        However, when this individual was allowed to return to her cell, she found her locker open and all of her legal
        paperwork‐‐including copies of grievances related to a PREA violation‐‐had been taken.


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       ‐ Shortly after our legal visit yesterday, three individuals (including two people on our witness list) were informed
       that they will be suddenly transferred to other facilities in the coming days. After other clients have been subject
       to retaliatory transfers, we have not been able to communicate with them while they are in transit, oftentimes
       for several weeks.

In addition, FCI Dublin staff once again strip searched every person that we met with at the FCI on Thursday
12/21. Multiple people we met with told us that they were warned about potential strip searches by individuals who
participated in the Tuesday 12/19 visit (and were strip searched), and this made them hesitant to attend the legal visit.
At least one person refused the visit, despite confirming earlier this week that she wanted to speak with us. Though
BOP maintains that these searches are pursuant to agency policy, the question is not whether BOP is authorized to strip
search clients after legal visits, but rather, whether they are doing so to intimidate survivors of staff abuse and
retaliation. Again, our team has been visiting FCI Dublin for at least seven years, and BOP did not once perform post‐
legal visit strip searches until March 2023, when staff strip searched clients twice after our organizations sent BOP a
litigation demand letter. They quickly stopped the practice, but chose to resurrect it this week, when they know we are
meeting with people who might testify against them in court. (And again, I was at FCI Dublin just last week for an
immigration clinic, and staff did not strip search anyone that we met with.) The timing of this change reeks of
retaliation, and is having a chilling impact on our ability to communicate with and prepare potential witnesses.

We also continue to face barriers to accessing our clients. In our conversation last week, and our follow up email, we
made several basic requests for access to our clients in the lead up to the evidentiary hearing, including: ensuring
private attorney meeting spaces for in‐person visits, adding additional attorney phone numbers to the pilot legal line
on an expedited basis, and accommodating additional legal visits outside the current restricted legal visit schedule. At
the last CMC, we represented to the court that the USAO would help facilitate expanded access to our clients over the
next several weeks. Unfortunately, this has not been the case.

We have not been provided private meeting spaces‐‐both of our legal visits this week took place in large open spaces,
within earshot of multiple staff and numerous incarcerated people. FCI Dublin refused to add additional attorney
phone numbers to the pilot legal phone line, unless we provided BOP staff with the names of our named plaintiffs. We
have requested a visit for the weekend before the hearing, but have not received a response.


We once again ask that you work with your client to ensure that staff cease retaliating against our clients and potential
witnesses, including by halting post‐legal visit strip searches. We also ask that you please facilitate access to our clients‐
‐including private meeting spaces, additions to the pilot phone line, and at least one visit the weekend before the
hearing.

Thank you for your attention to this matter,
Susan

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* CCIJ will be closed for our winter break from December 23rd through January 2nd. Thank you for your
patience as we rest & recharge for another year of building power towards collective liberation!
‐‐‐
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                                          Fax 415-840-0046
                                          California Collaborative for
      Susan Beaty

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‐‐‐
             M   m    m




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